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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )           8:11CR208
                      Plaintiff,                )
                                                )
      vs.                                       )            ORDER
                                                )
CARLOS MARTINEZ-MONZON,                         )
                                                )
                      Defendant.                )


      This matter is before the court on the motion for severance (Filing No. 17) filed by
defendant Carlos Martinez-Monzon (Martinez-Monzon). Martinez-Monzon is charged in
Count I of the Indictment together with co-defendant Juan Tenorio-Melendez (Tenorio-
Melendez) with a conspiracy to distribute and possess with intent to distribute
methamphetamine during the period of January 2011 through May 12, 2011, in violation
of 21 U.S.C. § 846. Tenorio-Melendez is charged alone in Counts II, III, and IV with the
distribution of methamphetamine and in Count V with the possession with intent to
distribute methamphetamine all in violation of 21 U.S.C. § 841(a)(1). Martinez-Monzon is
charged alone in Count VI with the distribution of methamphetamine and in Counts VII and
VIII with the possession with intent to distribute methamphetamine all in violation of 21
U.S.C. § 841(a)(1).
      Martinez-Monzon seeks an order severing his trial from that of his co-defendant
Tenorio-Melendez pursuant to Fed. R. Crim. P. 14(a), since Tenorio-Melendez had made
various statements during and after the alleged conspiracy which the government intended
to use at trial. The court held a hearing on the motion on August 30, 2011. The court
received into evidence a copy of Omaha Police Department (OPD) Supplemental Reports
(Exhibit 101). A transcript of the hearing was filed on September 8, 2011 (Filing No. 26).
       While the post-arrest statements of Tenorio-Melendez would pose a problem under
Bruton v. United States, 391 U.S. 123 (1968), Tenorio-Melendez is scheduled for a
change of plea before Chief Judge Bataillon on October 14, 2011 (Filing No. 27).
Accordingly, the court finds Martinez-Monzon’s motion to sever to be moot.
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       IT IS ORDERED:
       Martinez-Monzon’s motion to sever (Filing No. 17) is denied without prejudice.


                                        ADMONITION
       Pursuant to NECrimR 59.2 any objection to this Order shall be filed with the Clerk
of the Court within fourteen (14) days after being served with a copy of this Order. Failure
to timely object may constitute a waiver of any such objection. The brief in support of any
objection shall be filed at the time of filing such objection. Failure to file a brief in support
of any objection may be deemed an abandonment of the objection.


       DATED this 23rd day of September, 2011.
                                                    BY THE COURT:


                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge




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